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                                        Exhibit 1
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                             INDEPENDENT CONTRACTOR AGREEMENT

        This INDEPENDENT CONTRACTOR AGREEMENT (this "Agreement") is made and entered into as
of November 1, 2013, between Eagan Avenatti LLP (the "Company"), on the one hand, and Jason Frank,
individually, and Jason Frank Law, a Professional Law Corporation (collectively the "Independent Contractor")
on the other hand.

         WHEREAS, the Company desires to retain the services of the Independent Contractor as senior counsel;

         WHEREAS, the Independent Contractor has expertise in the field of litigation;

        WHEREAS, the parties acknowledge that the Independent Contractor's abilities and services are unique
and essential to the prospects of the Company; and

         WHEREAS, the Company and the Independent Contractor desire to enter into this Agreement to set
forth the terms .and conditions of the relationship between the Company and the Independent Contractor.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements contained herein, and
other good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the parties,
intending to be legally bound, agree as foilows :

l.      Effective Date; Term. The effective date ("Effective Date") of this Agreement shall be the date hereof.
The Independent Contractor's term of service (the " Service Term") lmder this Agreement shaII commence on
the Effective Date and shall continue until December 31 , 2016 (the "Term Date"), subject to the provisions in
Section 4 of this Agreement regarding earlier termination. If at the Term Date, the Independent Contractor's
service has not been terminated previously, this Agreement shall automatically renew for consecutive one-year
terms, upon the same terms and conditions, unless the Independent Contractor or Company, and no later than 30
days prior to the expiration of the Service Term (including any renewal thereof), provides written notice to the
other party that the Service Term shall not renew.

2.      Duties. The Independent Contractor shall perform all duties incident to the position of senior counsel of
the Company. The Independent Contractor agrees to abide by all the Company policies, practices, procedures or
rnles that are provided to the Independent Contractor, including but not limited to the requirement that the
Independent Contractor refrain from competing with the Company and/or practicing law on behalf of non-
Company clients during the Service Term.

3.       Compensation; Benefits: Expense Reimbursement.

        A.       Base Salruy. The Independent Contractor shall receive an annual base salary of $350,000 (the
"Base Salary"). The Base Salary shall be payable bi-monthly in accordance with the Company's standard
payroll practices, and checks shall be made out to "Jason Frank Law, a Professional Law Corporation."

        B.      Bonuses.

                (i) Origination Fees. The Independent Contractor shall be entitled to origination fees equal to
        20% of the total net attorneys' fees (the "JF Origination Fees") received by the Company during the
        Service Term from clients or matters that the Independent Contractor previously originated or
        subsequently originates on behalf of the Company during the Service Term. The JF Origination Fees
        shall be payable bi-annually, and checks shall be made out to "Jason Frank Law, a Professional Law
        Corporation." During the Service Term, the Company agrees to pay the Independent Contractor the JF




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        Origination Fees within 30 days from the end of each of the Company's second and fourth fiscal
        quarters.

                (ii) Profit Share Bonus. The Independent Contractor shall be entitled to a profit share bonus
        equal to 25% of the annual Profits of the Company (as defined below) (the "Profit Share Bonus") during
        the Service Term. The Profit Share Bonus shall be payable annually, and checks shall be made out to
        "Jason Prattle Law, a Professional Law Corporation." During the Service Term, the Company agrees to
        pay the Profit Share Bonus on or before February 15 of each calendar year.

                         (a)      "Profits of the Company" shall mean: The amount of revenue received by the
        Company during the calendar year MINUS (i) all monies received by the Company during that calendar
        year as reimbursement for case related costs incurred by the Company prior to January 1, 2011, and (ii)
        all expenses paid by the Company during that calendar year, including but not limited to, all overhead,
        taxes, rent, salaries, bonuses, fringe benefits, origination fees, insurance, refetTal fees, fees paid to
        outside co.counsel, leases, expert fees, purchases of equipment and/or machinery, capital expenditures,
        professional fees, case related costs, travel expenses, judgments, and settlements, provided, however,
        that the following shall not be deducted when calculating "Profits of the Company":

                                (1) Any salary or draw paid to Michael Eagan or Michael Avenatti exclusive of
       origination fees;

                                (2) Any monies paid to satisfy a judgment or settlement in favor of Robert Stoll
       in connection with Mr. Stoll's litigation pending against the firm as of the date of this Agreement; and

                                (3) The Profit Share Bonus paid pursuant to this Agreement.

                        (b)      Michael Avenatti and Michael Eagan, as the equity partners of the Company
        (the "Equity Partners"), shall have the sole and absolute discretion to determine what expenses will be
        paid by the Company in a calendar year, provided however that the Company agrees not to act in bad
        faith and purposely incur expenses for the sole purpose of reducing the Profit Share Bonus.

                (iii) Eden Bonus. The Independent Contractor shall be entitled to a percentage of the net
        attorneys' fees collected by the Company in connection with the lawsuits concerning Eden Memorial
        Park Cemetery in an amount to be determined in the sole and absolute discretion of the Equity Partners.

        C.      Benefit Plans. During the Service Term and except as otherwise provided herein, the
Independent Contractor shall be entitled to participate in any and all benefit plans established by the Company
from time to time for the benefit of employees of the Company. Nothing herein contained shall be construed as
requiring the Company to establish or continue any particular benefit plan in discharge of its obligations under
this Agreement.

        D.       Tax Treatment. The Company will make payments under this Agreement to Jason Frank Law, a
Professional Law Corporation, and will issue the appropriate tax forms in compliance with all federal, state,
local and other applicable tax law, rule or regulations.

         E.      No Equity. Anything provided herein or elsewhere to the contrary notwithstanding, in no event
shall the Independent Contractor have any equity or equity interest of any kind whatsoever in the Company, and
nothing herein is intended to, not· shall it, constitute a grant of equity or a partnership.

       F.      Expense Reimbursement. The Independent Contractor shall be entitled to receive reimbursement
as soon as practicable from the Company for reasonable and customary business expenses incurred by the




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Independent Contractor in performance of its duties and obligations hereunder, provided the Independent
Contractor furnishes the Company with vouchers, receipts or other details of such expenses sufficient to
substantiate a deduction for such business expenses under applicable laws, rules and regulations.

4.      Termination of the Independent Contractor Agreement.

        A.       Termination of Service. Notwithstanding the establishment of the Service Term, (i) the
Company may only terminate the Independent Contractor's service and this Agreement for Cause (as defined
below), and (ii) the Independent Contractor may resign for Good Reason (as defined below) at any time, in each
case subject to the terms and conditions of this Agreement.

        B.      Termination For Cause; Resignation Not For Good Reason. Notwithstanding anything to the
contrary herein, the Company reserves the right to te1minate the Independent Contractor' s service and this
Agrnement for Cause.

                  (i)      "Cause" shall mean: (a) the Independent Contrator's repeated and willful failure or
refusal (i) to substantially perform the Independent Contractor's principal duties with the Company and/or (ii) to
abide by the Company policies, practices, procedures or rules that are provided to the Independent Contractor,
including but not limited to the requirement that the Independent Contractor refrain from competing with the
Company and/or practicing law on behalf of non-Company clients during the Service Term, provided that (1) the
Company shall give the Independent Contractor written notice specifically identifying and describing such
failure or refusal and (2) such failw:e or refusal remains uncured for a period of 60 days after delivery of such
notice to the Independent Contractor; (b) the engaging by the Independent Contractor in any fraud or gross
negligence that would reasonably be expected to have a material detrimental effect on the Company; or (c) the
Independent Contractor being convicted of or pleading nolo contendre to a felony.

                 (ii)    " Good Reason" shall mean a resignation by the Independent Contractor after the
occurrence of any one or more of the following conditions, in each case without the Independent Contractor's
consent: (a) any reduction to the Independent Contractor's compensation or a failure by the Company to pay any
compensation payable to the Independent Contractor onder this Agreement in accordance with Section 3 above;
(b) any diminution in the Independent Contractor' s title, position, rep01ting relationship, duties, or
responsibilities; (c) assignment of duties inconsistent with the Independent Contractor's title, position or
authority; or (d) any breach by the Company of this Agreement; provided, that no such event, change or
condition shall constitute grounds for a Good Reason (and the Independent Contractor shall have no right to
resign for Good Reason by reason thereof) unless both (1) the Independent Contractor provides written notice to
the Company of the condition claimed to constitute grounds for a Good Reason, and (2) the Company fails to
remedy such condition(s) within 60 days of receiving such notice.

                  (iii)  If the Company terminates the Independent Contractor's service and this Agreement for
Cause 01' the Independent Contractor resigns without Good Reason, the Company shall have no further
obligation to the Independent Contractor other than (a) to pay the Independent Contractor's accrued Base Salary,
accrued JF Origination Fees, and a pro~rata Profit Share Bonus through the effective date of termination
(collectively, the "Accrued Compensation"), (b) with respect to any rights the Independent Contractor may have
pursuant to any insurance or other benefit plans of the Company (collectively, the "Accrued Benefits"), and (c)
any un-reimbursed expenses incurred in connection with Section 3(G) above. The Company agrees to pay the
Independent Contractor the Accrued Compensation as follows: the accrued Base Salruy in accordance with
Section 3(A) above, the accrued JF Origination Fees in accordance with Section 3(B)(i) above (to the extent any
JF Origination Fees have not been collected at the time of resignation or termination, such JF Origination Fees
shall still be due and payable in accordance with Section 3(B)(i) above), and the pro-rata Profit Share Bonus in
accordance with Section 3(B)(ii) above (it being understood that the pro-rata Profit Share Bonus will be




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calculated based on the prop01tion of the applicable year that the Independent Contractor provided services to
the Company).

         C.      Death and Disability. Notwithstanding anything to the contrary herein, the Company reserves
the right to terminate the Independent Contractor's service and this Agreement on account of the fudependent
Contractor's death or Disability and the terms of this Section 4(C) shall apply to such termination. "Disability"
shall mean a determination by the Company or the Independent Contractor in accordance with applicable law
that, due to a physical or mental injury, infirmity or incapacity, the Independent Contractor is unable to perform
the essential functions of its services, with or without reasonable accommodation, for 120 days ( whether or not
consecutive) during any 12-month period. In the event that the Company and the Independent Contractor cannot
agree, they shall designate a third party knowledgeable in disability law to make such determination, which shall
be binding on the Company and the Independent Contractor. If the Company or the Independent Contractor
tenninates the fudependent Contractor' s service and this Agreement because of the Independent Contractor's
death or Disability, the Company shall have no further obligations to the Independent Contractor or the
Independent Contractor's heirs other than to pay the Independent Contractor the Accrned Compensation, the
Accrued Benefits and any un-reimbmsed expenses incurred pursuant to Section 3(G) above, and the Independent
Contractor shall have no further obligation to the Company.

5.      Information Rights. During the Service Term and thereafter to the extent necessary to enforce the
Independent Contractor's rights hereunder, the Independent Contractor shall have the right, upon notice and at
reasonable times during normal business hours, to inspect the Company's federal tax returns (including any
accompanying Schedule K-1's) filed for the years during the Service Term for the purposes of reviewing or
verifying the calculation of the JF Origination Fees o.r Profits of the Company. The Company shall deliver to the
Independent Contractor, (A) within 30 days from the end of the Company's second and fourth fiscal quarters, a
detailed calc'ulation of the JF Origination Fees, and (B) within 30 days from the filing of the Company's
applicable federal income tax retum, a copy of such return (including any accompanying Schedule K-1's). In
addition, the Company shall annually deliver to the Independent Contractor, together with the Profit Share
Bonus, a detailed calculation of the Profit Share Bonus showing the attorneys ' fees received by the Company
during the calendar year, together with the Company' s expenses.

6.       Representations and Warranties; Covenants. The parties hereby represent and warrant as follows: (i)
each party has the legal capacity and unrestricted right to execute and deliver this Agreement and to pe1form all
of its obligations hereunder; (ii) the execution and delivery of this Agreement by each party and the pe1formance
of its obligations hereunder will not violate or breach or be in conflict with any fiduciary or other duty,
instrument, agreement, document, arrangement, contract or other understanding to which the Company or the
Independent Contractor, as applicable, is a party or by which the Company or the Independent Contractor, as
applicable, is or may be bound or subject. Dming the Service Term, the patties covenant not to not enter into any
agreement, whether written or oral, in conflict with the provisions of this Agreement.

7.      Indemnification of the Independent Contractor. The Company agrees to indemnify and hold the
Independent Contractor harmless from and against any and all damages, claims, costs and expenses, including
reasonable attorneys ' fees, arising out of any claims against the Company whereby the Independent Contractor is
involved or implicated, either directly or indirectly, in light of this Agreement, the Independent Contractor's
service with the Company, or the Independent Contractor's position with the Company.

8,      Governing Law: Arbitration.

        A.      Governing Law. This Agreement shall be governed by, construed, and enforced in accordance
with the laws of the State of California, without regard to the conflicts of law rules thereof.




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           B.      Arbitration. Any and all disputes of any nature related to this Agreement shall be determined by
final and binding arbitration in Los Angeles County, California before a three-arbitrator panel. The parties shall
agree on the rules and procedures to be followed in the arbitration at such time as one party notices the other that
it is initiating arbitration . If the parties are unable to agree on the rules and procedures to be followed within 15
days, the arbitration shall be administered by JAMS pursuant to its Comprehensive Arbitration Rules and
Procedures, and the arbitrator shall apply the laws applicable in the State of California. Judgment on the arbitral
award may be entered in any court having jurisdiction thereof. This clause shall preclude the parties from
seeking an injunction or other provisional remedies in aid of arbitration from a court of appropriate jurisdiction.
The arbitrator shall, in the arbitral award, allocate all or part of the costs of the arbitration, including the fees of
the arbitrator and the reasonable attomeys ' fees (and accountant's fees) of the prevailing party, for payment by
the non-prevailing party, and shall determine the prevailing patty for this purpose.

9.       Miscellaneous.

         A.       Headings. etc. Section and subsection headings are not to be considered part of this Agreement,
are included solely for convenience, are not intended to be full or accurate descriptions of the content thereof and
shall not affect the construction hereof.

B.        Successors and Assigns. Neither this Agreement, nor any of the Independent Contractor's or the
Company' s rights, powers, duties or obligations hereunder, may be assigned by the Independent Contractor or
the Company. This Agreement shall be binding upon and inure to the benefit of the Independent Contractor and
its heirs and legal representatives and the Company and its successors. Successors of the Company shall include,
without limitation, any company or companies acquiring, directly or indirectly, all or substantially all of the
assets of the Company, whether by merger, consolidation, purchase, lease or otherwise, and such successor shall
thereafter be deemed the "Company" for the purpose hereof.

        C.      Notices. Any notices or other communications required or permitted hereunder shall be deemed
to have been properly given and delivered if in writing by such party or its legal representative and delivered
personally or sent by electronic mail, facsimile, nationally recognized overnight courier service guaranteeing
overnight delivery, or registered or certified mail, postage prepaid, addressed as follows:

lfto the Independent Contractor to: Jason Frank
                                            368 Pershing Drive
                                            Playa Del Rey, CA 90293
                                            Email: dawntamir@gmail.com; jason3665 l@yahoo.com

with a copy (which shall not
constitute notice) to :                        Douglas Bouton
                                               2120 The Strand, Apt. 7
                                               Manhattan Beach, CA 90266
                                               Email: dbouton@boutonlegal .com

Tfto the Company, to :                         Michael Avenatti
                                               Eagan Avenatti LLP
                                               450 Newport Center Drive, 2nd Floor
                                               Newport Beach, CA 92660

Unless otherwise specified herein, such notices or other communications shall be deemed given (a) on the date
delivered, if delivered personally, (b) one business day after being sent by a nationally recognized overnight
courier providing for overnight delivery, (c) on the date delivered, if delivered by facsimile with confirmation
during business hours (or one business day after the date of delivery if delivered after business hours) and (d)



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five business days after being sent, if sent by registered or ce1tified mail. Each of the parties hereto shall be
entitled to specify a different address by delivering notice as aforesaid to each of the other parties hereto.

        D.       Amendment or Modification. The parties hereto may amend or modify this Agreement only by
a written instrument executed by each of the parties hereto.

        E.     Waiver. No waiver of any provision of this Agreement shall be deemed or shall constitute a
waiver of any other provision thereof (whether or not similar), shall constitute a continuing waiver unless
otherwise expressly provided nor shall be effective unless in writing and executed (a) in the case of a waiver by
the Company, by the Company, and (b) in the case of a waiver by the Independent Contractor, by the
Independent Contractor.

        F.      Severability. In the event that any provision hereof would, under applicable law, be invalid or
w1enforceable in any respect, such provision shall (to the extent permitted under applicable law) be construed by
modifying or limiting it so as to be valid and enforceable to the maximum extent compatible with, and possible
under, applicable law, The provisions hereof are severable, and in the event any provision hereof should be held
invalid or unenforceable in any respect, it shall not invalidate, render unenforceable or otherwise affect any other
provision hereof.

        G.      Survival. Sections 4, 5, and 7-9 shall survive termination of this Agreement.

        H.       Entire Agreement. Other than that certain Settlement and Release Agreement among the
Company, the Independent Contractor, Michael Avenatti and Michael Eagan, dated as of the Effective Date (the
"Settlement Agreement"), this Agreement constitutes the entire agreement among the parties hereto pertaining to
the subject matter hereof and supersedes all prior and contemporaneous agreements, understandings,
negotiations and discussions, whether oral or written, of the parties with respect to such subject matter. In the
event of a conflict between this Agreement and the Settlement Agreement, this Agreement shall control. The
Independent Contractor agrees that he is entering into the Settlement Agreement as a condition of this
Agreement, whereby the Independent Contractor is settling and releasing any claims he has against the Company,
Michael Avenatti and/or Michael Eagan individually, arising out of representations made by John O'Malley
concerning the Independent Contractor' s status with the Company, as an equity partner or otherwise. In
exchange for this release, the Independent Contractor is receiving the following consideration under this
Agreement: (a) $90,000 of the total $350,000 Base Salary provided for in this Agreement; (b) 5% of the total
20% JF Origination Fees provided for in this Agreement; and (c) 12.5% of the total 25% Profit Share Bonus
provided for in this Agreement. For the avoidance of all doubt, the Settlement Agreement does not in any way
waive, release or resolve, in whole or in part, any claims the Independent Contractor may have against John
O'Malley individually. Notwithstanding the foregoing, any amounts currently owed to the Independent
Contractor by the Company for Origination Fees provided to the Company will remain owed to the Independent
Contractor until such sums are paid.          ·

        I.       Counterparts. This Agreement and any claims related to the subject matter hereof may be
executed in any number of counterparts, each of which shall be deemed an original, but all of which together
shall constitute but one and the same instrument. Facsimile transmission or electronic transmission in pdf or
comparable format of any signed original document and/or retransmission of any signed facsimile or pdf or
comparable format transmission will be deemed the same as delivery of an original.

        J,      Relationship of the Parties. The Independent Contractor is engaged by the Company solely as
an independent contractor and not as an employee, partner, or joint venturer, and has no authority to bind the
Company, by contract or otherwise. The Independent Contractor will not have, and will not represent that it has,
any authority to assume or create any obligation, express or implied, to enter into any agreements regarding the
Company, or to make any warranties or representations on behalf of the Company or in the Company' s name.




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The Independent Contractor shall be solely responsible for all matters related to payment of its employees and
contractors, including the provision of benefits and all other related employment matters. The Independent
Contractor is responsible for the payment of all state, federal, foreign, or local taxes, including income tax,
withholding tax, social security tax, or pension contributions on the funds distributed to the Independent
Contractor by the Company.

                                          (Signature Page to Follow)




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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first written
above.




                                                     By: {
                                                     Name: Mic ael A venatti
                                                     Title: Managing Partner ·



                                                     Jason Frank Law, a Professional Law Corporation




                                                     By:---=--1---0--~f-------'=----=:----'---
                                                     Name:
                                                     Title:




                                                     By: _ _,,-..:...:'--,~,-=..--_.:::"""=-_ _ __
                                                     Name:




                      [Signature Page to Independcnl Contractor Agreemen t -Jason Frank]




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                                         Exhibit 2
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                                         Exhibit 6
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    1                   UNITED STATES BANKRUPTCY COURT

    2                   CENTRAL DISTRICT OF CALIFORNIA

    3                           SANTA ANA DIVISION

    4

    5    In re:                      )
                                     )
    6    EAGAN AVENATTI, LLP         )
                                     ) Case No. 8:17-bk-11961-CB
    7                                )
                       Debtor.       )
    8                                )
                                     )
    9    ____________________________)

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   12

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   14                341(a) CONTINUED MEETING of CREDITORS

   15                              July 14, 2017

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   24    Reported by: Joanna B. Brown, CSR No. 8570
         426862
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    1    funded cash-flow issues with this law firm?

    2         A     I believe me personally and Avenatti &

    3    Associates.

    4         Q     And to the best of your recollection, those

    5    are the only two entities that have funded the firm,

    6    let's say, over the last 90 days?

    7         A     To the best of my recollection as I sit here

    8    today without the benefit of documents, yes.

    9         Q     Okay.   Now, let me ask you, you are obviously

   10    the controlling person -- the controlling person of

   11    these entities, you individually, you testified;

   12    correct?

   13               So, obviously, that's you individually;

   14    correct?

   15         A     I don't know what entities you are talking

   16    about.

   17         Q     You said -- Avenatti & Associates, you are the

   18    controlling person of that entity; correct, sir?

   19         A     Yes, sir.

   20         Q     Is that a corporation?       An LLC?

   21               What is that?

   22         A     It's a corporation.

   23         Q     What percentage of shares do you own in that

   24    entity, sir?

   25         A     A hundred percent.



                                           51

                              341(a) MEETING OF CREDITORS
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    1    BY MR. FRANK:

    2         Q     Mr. Avenatti, you -- I want to ask some

    3    questions about the Bahamas v. Kimberly-Clark class

    4    action.    You have a verdict that you obtained of

    5    $454 million; is that correct?

    6         A     Despite your efforts, yes.

    7         Q     And --

    8         A     Would you like to ask me --

    9         Q     -- that is a post-trial briefing?

   10         A     Would you like to ask me some questions about

   11    your interference in that matter?

   12               MR. HAUSER:    Let's --

   13    BY MR. FRANK:

   14         Q     That is a post-trial briefing?

   15         A     Would you?

   16               MR. KHARASCH:     No, no.    This --

   17    BY MR. FRANK:

   18         Q     Is that a post-trial briefing?

   19         A     Yes.

   20         Q     There -- in a class action, if there is a

   21    settlement or judgment, as part of the process, the

   22    plaintiff will be able to submit an application for

   23    attorneys' fees; is that correct?

   24         A     Yes.

   25         Q     And the benchmark award for attorneys' fees in



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    1    the 9th Circuit is 25 percent of the amount; true?

    2         A     Yes.

    3         Q     So if Eagan Avenatti and the plaintiff were to

    4    obtain a $454 million verdict or judgment, then the

    5    fees could be over $100 million; true?

    6         A     The total attorneys' fees awarded, yes.

    7         Q     When the plaintiff files the application for

    8    attorneys' fees, are you going to request that any

    9    portion of the fees be awarded to you personally as

   10    opposed to the debtor law firm?

   11         A     Yes.

   12         Q     How much?

   13         A     Well, let me be clear.       We haven't made that

   14    determination yet but probably; but no determination

   15    has been made because we are not there yet.

   16         Q     How much?

   17         A     We don't know yet.

   18         Q     You say "we."     Who is going to be involved in

   19    that decision?

   20         A     I can't speculate on who is going to be

   21    involved.

   22         Q     You are the managing partner of

   23    Eagan Avenatti; correct?

   24         A     I think that's already been established.

   25         Q     You also own, I believe, 75 percent of the



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    1    equity of the firm?

    2         A     Correct.

    3         Q     And you are the lead counsel of -- in the

    4    Kimberly-Clark case; correct?

    5               MR. KHARASCH:     I think he answered the

    6    question.    The firm hasn't made the decision yet or

    7    whoever is supposed to.       I'm assuming you would --

    8               MR. FRANK:     Mr. Kharasch, I believe the

    9    question is is he the lead counsel in the

   10    Kimberly-Clark case.

   11    BY MR. FRANK:

   12         Q     Is that true?

   13         A     I personally am the lead counsel, which was

   14    clarified by the Court as a result of your conduct in

   15    attempting to have the firm removed as counsel,

   16    Mr. Frank, which you are well aware of.

   17         Q     Mr. Avenatti, if you make the decision --

   18         A     You did contact King & Spalding and attempt to

   19    do that, didn't you?

   20         Q     Mr. Avenatti --

   21         A     Didn't you?

   22         Q     Mr. Avenatti, if you make the decision --

   23         A     Didn't you do that?

   24         Q     Mr. Avenatti --

   25         A     You attempted to undercut --



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    1               MS. CHENETZ:     Mr. Hauser --

    2               THE WITNESS:     -- the interest.

    3               MS. CHENETZ:     -- there is only one witness

    4    here, only one person answering -- asking questions.

    5    BY MR. FRANK:

    6         Q     Mr. Avenatti, if you make the decision to

    7    request that a portion of the fees be awarded to you

    8    personally as opposed to the debtor law firm, is there

    9    anyone at Eagan Avenatti who could overrule your

   10    decision?

   11         A     I can't speculate as to the situation you are

   12    describing, Mr. Frank.       Like I said, we haven't decided

   13    how that's going to be handled.         We are more concerned

   14    with other matters right now.

   15         Q     Mr. Avenatti, is there anyone at the law firm

   16    who can overrule your decision if you decide to request

   17    that fees be awarded to you personally as opposed to

   18    the law firm?

   19         A     I don't know.

   20         Q     Who would that be if it isn't you?

   21         A     I can't speculate.

   22         Q     Well, does Mr. Eagan have the right to

   23    overrule that decision?

   24         A     I can't speculate.

   25         Q     Does Mr. Ave- -- does Mr. Eagan have a



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    1    contractual right to overrule the decisions that you

    2    make in relationship to the firm?         Any decisions?

    3         A     Maybe.   I would have to think about it.

    4         Q     Does Mr. Eagan --

    5               MR. KHARASCH:     We have to --

    6    BY MR. FRANK:

    7         Q     Would that be in your partnership agreement

    8    with Mr. Eagan?

    9         A     I don't know.

   10         Q     Now, in addition, is there any other entity

   11    that will be entitled to any portion of the

   12    Kimberly-Clark fees other than the firm and potentially

   13    you?

   14         A     I believe Mr. Hearon is entitled to a

   15    percentage of the fees.

   16         Q     And Mr. Hearon made an appearance into the

   17    case post-petition; is that correct?

   18         A     Post-petition?

   19         Q     Correct?

   20         A     Well, let's --

   21         Q     "Post-petition" meaning after the filing of

   22    this bankruptcy.

   23               MR. HAUSER:     Just to make it clear for the

   24    record, that would have been March -- well, the order

   25    for relief in this case is March 10, 2017.



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    1    liabilities of the --

    2         Q     All right.    When you negotiated this agreement

    3    with The X-Law Group, who was negotiating on behalf of

    4    Eagan Avenatti?

    5         A     I was.

    6         Q     Anyone else on behalf of Eagan Avenatti?

    7         A     No.

    8         Q     Who was negotiating it on behalf of

    9    The X-Law Group?

   10         A     Mr. Marchino.

   11         Q     And anybody else on behalf of The X-Law Group?

   12         A     No.

   13         Q     How long have you known Mr. Marchino?

   14               MR. KHARASCH:     Just approximately.

   15               THE WITNESS:     Five years approximately.

   16    BY MR. FRANK:

   17         Q     He's a friend of yours; correct?

   18         A     Yes.

   19         Q     And as part of this agreement, you gave him a

   20    piece of your cases that you've estimated is worth

   21    $17 million -- and by "him," I mean The X-Law Group --

   22    correct?

   23         A     I don't know that the estimate was included at

   24    the time.    So, I mean, as phrased, I'll say no.

   25         Q     Where is a copy -- do you have a copy of this



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    1    agreement?

    2         A     There should be a copy at the firm's offices.

    3         Q     One of these files, but you don't know where;

    4    correct?

    5               MR. HAUSER:    Sir, just to --

    6               MR. FRANK:    That's fair.

    7               MR. HAUSER:    -- kind of calm this thing down,

    8    the fact of the matter is if you think -- if he says

    9    it's at his office, it doesn't really matter --

   10               MR. FRANK:    That's fine.

   11               MR. HAUSER:    -- which file cabinet it's in.

   12               MR. FRANK:    That's fair.

   13               MR. HAUSER:    Okay.

   14    BY MR. FRANK:

   15         Q     This agreement provided that The X-Law Group

   16    would get a piece of certain cases at Eagan Avenatti.

   17    Was it a percentage?

   18         A     As I recall, yes, but I haven't looked at the

   19    agreement in the better part of a year.

   20         Q     And in addition, as part of this agreement,

   21    did you agree that you would start paying the attorneys

   22    at The X-Law Group -- you would pay a portion or all of

   23    their salaries?

   24         A     Yes.

   25         Q     And did you also agree to pay the rent for



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    1    their office in Los Angeles?

    2         A     There was an oral agreement that we would do

    3    so for a period of time.       Yes.

    4         Q     So the agreement to pay The X-Law Group's rent

    5    was an oral agreement separate and apart from this

    6    written agreement to share fees?

    7         A     I don't recall if it was included in the

    8    written agreement or if it was a separate oral

    9    agreement, Mr. Frank.

   10         Q     And if you look at Schedule -- if you look at

   11    the operating account, you have a list of employees,

   12    your operating statement which I believe is

   13    Docket 126 -- Docket No. 126.          If you'd turn to page --

   14    I believe it's 5 of 6 -- or 5 of 16.          Excuse me.    And

   15    I'm looking at the bottom.        It also says on the main

   16    document "page 8 of 36" at the top.

   17         A     Okay.

   18         Q     Do you have it before you?

   19         A     Yes.

   20         Q     Can you please let us know which people on

   21    this list are people from The X-Law Group.

   22         A     I don't understand the question.

   23         Q     There is a list of people that Eagan Avenatti

   24    is paying salaries to; correct?

   25         A     Yes.



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    1         Q     Which of these people are people who work at

    2    The X-Law Group?

    3         A     Well, I don't know if they technically still

    4    work at The X-Law Group or not, but a number of these

    5    people at some point in time worked at The X-Law Group.

    6         Q     Okay.   Who --

    7         A     Is that your question?

    8         Q     Who are those people?

    9         A     Thomas Cassaro, Michael Diaz, Alfredo Garcia,

   10    Mr. Marchino, Mr. Rogers -- I think that's it.

   11         Q     Did you purchase The X-Law Group, meaning

   12    Eagan Avenatti?     Let me strike that.

   13               Did Eagan Avenatti purchase The X-Law Group as

   14    part of this agreement?

   15         A     No.

   16         Q     So The X-Law Group still continues to operate

   17    as a separate law firm?

   18         A     Yes.

   19         Q     By the way, on the top, there is a employee or

   20    someone who gets payroll.       It says, "A driver to go."

   21    What is that?

   22         A     That is a car service that the firm uses from

   23    time to time.

   24         Q     You have a personal chauffeur named -- I

   25    believe it's James Cameron; is that correct?



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    1                 DEPOSITION OFFICER'S CERTIFICATE

    2    STATE OF CALIFORNIA       )
                                   ) ss.
    3    COUNTY OF ORANGE          )

    4

    5

    6               I, Joanna B. Brown, hereby certify:

    7               I am a duly qualified Certified Shorthand

    8    Reporter in the State of California, holder of

    9    Certificate Number CSR 8570 issued by the Certified Court

   10    Reporters' Board of California and which is in full

   11    force and effect.      (Fed. R. Civ. P. 28(a)(1)).

   12               I am authorized to administer oaths or

   13    affirmations pursuant to California Code of Civil

   14    Procedure, Section 2093(b) and prior to being examined,

   15    the witness was first duly sworn by me.            (Fed. R. Civ.

   16    P. 28(a)(a)).

   17               I am not a relative or employee or attorney or

   18    counsel of any of the parties, nor am I a relative or

   19    employee of such attorney or counsel, nor am I

   20    financially interested in this action.          (Fed. R. Civ. P.

   21    28).

   22               I am the deposition officer that

   23    stenographically recorded the testimony in the foregoing

   24    deposition and the foregoing transcript is a true record

   25                                   / / /



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    1    of the testimony given by the witness.          (Fed. R. Civ. P.

    2    30(f)(1)).

    3               Before completion of the deposition, review of

    4    the transcript [      ] was [ XX ] was not requested.         If

    5    requested, any changes made by the deponent (and

    6    provided to the reporter) during the period allowed, are

    7    appended hereto.      (Fed. R. Civ. P. 30(e)).

    8

    9    Dated: July 26, 2017

   10

   11                                ______________________________

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                                         Exhibit 7
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                        SETTLEMENT AGREEMENT AND RELEASES

          This Settlement Agreement and Releases (" Agreement") is entered into this 12th day of
  December 2017 by and between Jason .Frank Law, PLC, a professional law corporation
  organized in California ("JFL"), Jason Frank ("FRANK"), wi individual, Scott Sims ("SIMS"),
  an individual, Andrew Stolper ("STOLPER"), an individual, and Frank Sims & Stolper LLP, a
  limited liability partnership organized in California ("FSS") (collectively, the "JFL Parties"), on
  the one hand, and Eagan Avenatti LLP ("EA"), a limited liability partnership organized in
  California, Avenatti & Associates, APC ("A&A"), a professional corporation organized in
  California, Michael Avenatti ("AVENATTI"), an individual, and Michael Eagan, an individual
  ("EAGAN") (collectively, the "EA Parties"), on the other hand. The JFL Parties and EA Parties
  are collectively referred to as the "Parties."

         WHEREAS, JFL and FRANK entered into an Independent Contractor Agreement with
  EA effective November I, 2013 (the "JFL Agreement") and prior to that time FRANK had been
  an employee of EA;

         WHEREAS, SIMS entered into an Employment Agreement with EA dated March I,
  2014 (the "SIMS Employment Agreement");

         WHEREAS, on or about February 28, 2016, JFL filed a Demand for Arbitration with
  JAMS against EA asserting claims for damages and other remedies for breach of contract, which
  demand was later amended to include claims for fraud, unjust enrichment, declaratory relief wid
  punitive damages (the "JFL Arbitration");

          WHEREAS, on or about May 20, 2016, JFL, FRANK, SIMS wid STOLPER ceased
  practicing law at EA and formed a new law finn, FSS;

          WHEREAS, the clients in the matters listed on Exhibit "A" (attached hereto)
  (collectively, the "Matters") terminated EA as their counsel in the Matters and retained FSS as
  their counsel in certain of the Matters;

         WHEREAS, EA asserted attorneys' liens in the Matters and/or claimed it had the right to
  recover its reasonable attorneys' fees and costs for the work performed at EA on the Matters;

          WHEREAS, on or about July 22, 2016, EA filed a Demand for Arbitration with JAMS
  against EA's former client, Kimberly Birbrower, seeking to recover fees and costs in the
  Birbrower v. Ouom Foods. Inc. matter, which is one of the Matters (the "EA/Birbrower
  Arbitration");

          WHEREAS, on or about August 9, 2016, SIMS filed a Demand for Arbitration with
  JAMS against EA seeking certain sums owed under the SIMS Employment Agreement,
  including claims for breach of contract, fraud, accounting and constructive trust (the "SIMS
  Arbitration");




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         WHEREAS, on or about September 23, 2016, EA filed counterclaims against SIMS in
  the SIMS Arbitration asserting claims for breach of contract, fraud, violation of the CaJifornia
  Uniform Trade Secret Act, breach of fiduciary duty, breach of duty of loyalty, conversion,
  accounting, and constructive trust;

         WHEREAS, on or about September 12, 2016, EA filed counterclaims against JFL in the
  JFL Arbitration asserting claims for breach of contract, fraud, breach of fiduciary duty, breach of
  duty of loyalty, conversion, accounting, constructive trust and tortious interference;

         WHEREAS, on or about December 15, 2016, EA filed a complaint in California Superior
  Court, County of Orange, Case No. 30-2016-00892564-CU-BC-CJC against its fo1mer client,
  William Scott Callaway, seeking to recover fees and costs in the Callaway v. Mercedes Benz
  USA, Inc. et al. matter, which is one of the Matters (the "EA/Callaway Lawsuit");

         WHEREAS, on or about December 21, 2016, EA filed a complaint in California Superior
  Court, County of Orange, Case No. 30-2016-00893847-CU-MC-CJC against Paul Root and
  Madison Street Pwtners, Inc. asserting claims for aiding and abetting. breach of duty of loyalty_
  and aiding and abetting fraud (the "EA/Root Lawsuit");

         WHEREAS, on or about February 8, 2017, EA's fonner clients, Authentic Entertainment
  Properties, LLC and Authentic Entertainment Properties Development, LLC (collectively
  "AEP") filed a Demand for Arbitration with JA.Iv1S against EA seeking declaratory relief and
  damages relating to EA's former representation of AEP in the AEP v. Royal Center Associates,
  LLC et al. matter, which is one of the Matters (the "AEP/EA Arbitration");

         WHEREAS, on or about February 28, 2017, EA filed a motion to adjudicate its attorney
  lien against AEP in the District Court for Clark County Nevada, in the AEP v. Royal Center
  Associates, LLC et al. matter, which such motion was denied and is currently being appealed by
  EA;

           WHEREAS, on or about March 1, 2017, an Involuntary Bankruptcy Petition against EA,
  seeking that EA be a debtor in a Chapter 11 case was filed in the Middle District of Florida, Case
  No. 6: l 7-bk-01329-KSJ (the "Bankruptcy Case");

         WHEREAS, on or about March 10, 2017, EA consented to entry of Order for Relief in
  the Bankruptcy Case;

         WHEREAS, on or about May 16, 2017, the Bankruptcy Case was transferred to the
  Central District of California, Santa Ana Division, before the Honorable Catherine E. Bauer (the
  "Bankruptcy Court"), and assigned a new case number 8: 17-bk-1191-CB;

          WHEREAS, on or about June 19, 2017, JFL filed a Proof of Claim in the Bankruptcy
  Case in the amount of not less than $18,615,886, which included (a) $12,396,633 in unpaid
  compensation under the JFL Agreement; (b) $1,868,221 in prejudgment, prepetition interest; (c)
  $500,000 in pre-petition attorneys' fees and costs; and (d) fraud damages and punitive damages
  in an unliquidated amount but likely in excess of $4,000,000;



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         WHEREAS, on or about June 19, 2017, FRANK, SIMS, STOLPER and FSS also filed
  Proofs of Claim in the Bankruptcy Case;

          WHEREAS, on or about July 12, 2017, JFL filed a motion for relief from stay to proceed
  with the JFL Arbitration [Bankruptcy Case Docket Nos. 155, et al.] ("JFL RFS Motion"), the
  Debtor and certain other parties filed oppositions to the JFL RFS Motion, JFL filed a reply to
  those oppositions, a hearing on the JFL RFS Motion commenced on August 9, 2017 and was
  continued by direction of the Bankruptcy Court until September 20, 2017 and repeated times
  thereafter through and including December 13, 2017;

          WHEREAS, A VENA TTI is the managing member and majority equity holder of EA and
  solely owns and controls A&A;

         WHEREAS, JFL, FRANK and SIMS have asserted that A VENATTI is personally liable
  to them for all or substantially all claims they have against EA and that A&A may be liable to
  them, all of which A venatti and A&A dispute;

          WHEREAS, it is in the personal, professional and business interests of AVENATTI and
  the professional and business interests of EA and A&A that the disputes among the JFL Parties
  and EA Parties be resolved promptly and each has concluded that he/it will received meaningful
  value if this Agreement is executed, approved and fully satisfied; and

          WHEREAS, the Parties desire to resolve any and all disputes between them on the terms
  set forth herein (the "Settlement");

          NOW THEREFORE, for and in consideration of the mutual covenants contained herein
  and for other good and valuable consideration, the sufficiency of which is hereby acknowledged,
  the Parties agree as follows:

  1.       Dismissal of Bankruptcy Case.

           l. 1.   Subject to Paragraph 1.5 below, the effectiveness of the terms and obligations of
           this Agreement are contingent upon (a) EA filing a motion ("Settlement and Dismissal
           Motion") with the Bankruptcy Court seeking entry of one or more orders (the "Orders")
           approving the· Settlement and authorizing and directing the Debtor to fully comply with
           all terms of this Agreement pursuant to Fed. R. Bankr. Pro. 9019 ("Settlement Order"),
           and dismissing the Bankruptcy Case, pursuant to Bankruptcy Code Section l 112(b)
           ("Dismissal Order"), on terms acceptable to JFL and EA, on or before January 3,
           2018,with a hearing on the Settlement and Dismissal Motion to be held on January 24,
           2018; (b) entry of the Orders on or before January 31, 2018; (c) the Bankruptcy Case
           being dismissed within sixteen (16) calendar days after entry of the Dismissal Order; (d)
           execution of the Guaranty Agreement (as defined below), on or before December 12,
           2017; and (e) if a stay of the Settlement Order or Dismissal Order has been entered
           pursuant to Rule 8007 of the Federal Rules of Bankruptcy Procedure ("Rule 800r), a




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          Termination Notice, as defined in Paragraph 1.5 below, having not been provided by JFL
          or EA. The proposed Order(s) are attached as Exhibit B.

           1.2. The JFL Parties will not oppose any of the relief sought in the proposed Orders,
           nor will they encourage others to do so, all subject to the timely satisfaction of the
           deadlines set forth herein (collectively "Deadlines").

           1.3.    In the event the Orders are not entered by the Deadlines for their entry, or the
           Guaranty Agreement is not executed by the pertinent Deadline for its execution, the
           Parties shall be returned to the status quo ante prior to their execution of this Agreement,
           and the Agreement shall be deemed null and void, and neither this Agreement, its
           execution nor any statements contained therein may be used in any subsequent
           proceedings in any court or arbitration.

           1.4.   The hearing on the JFL RFS Motion shall be continued until January 24, 2018.

           1.5.    If a stay of the Settlement Order or Dismissal Order is entered pursuant to Rule
           8007 (a "Stay Order") or if the tenns of this Agreement are materially modified by the
           Court, then JFL or EA may elect to withdraw from and terminate this Agreement, in
           which case this Agreement and all Orders entered thereon will be rescinded and all
           Parties will be restored to the status quo ante prior to the execution of this Agreement,
           and the Agreement shall be deemed null and void, and neither this Agreement, its
           execution nor any statements contained therein may be used in any subsequent
           proceedings in any court or arbitration. If JFL or EA elects to exercise this right to
           terminate this Agreement, it shall provide notice of this election to the other parties to this
           Agreement, in writing, within five (5) business days after the Stay Order is entered (the
           "Termination Notice"). Upon such election, the Parties will cooperate in taking any
           action necessary to request that the appropriate court vacate the Settlement Order, the
           Dismissal Order and Stay Order, and will not object to or oppose such actions.

           1.6.    If a Stay Order is issued and neither JFL or EA elect to terminate the Agreement
           in accordance with Paragraph 1.5, then the time for perfonning all obligations under this
           Agreement will commence upon the later of: (a) sixteen (16) calendar days after the Stay
           Order is no longer in effect provided that the Settlement Order and Dismissal Order have
           been affirmed; or (b) the time when the obligation would have otherwise been required to
           be performed under the terms of this Agreement

  2.        Resolution of EA's Asserted Liens and Right to Attorneys' Fees and Costs in the
            Matters.

            2.1.    Within sixteen ( 16) calendar days of entry of the Dismissal Order, and provided
            no stay of the Settlement Order or Dismissal Order having been issued pursuant to Rule
            8007, EA will withdraw all purported liens asserted in the Mat1ers and will forever waive
            and forego, with prejudice and finality, any present or future claims for attorneys' fees,
            costs, expenses, damages, or any other compensation or remedies arising out of or
            relating to the Matters.



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            2.2.    Upon the sixteenth (16th) day following the entry of the Settlement Order, and
            provided no stay of the Settlement Order or Dismissal Order having been issued pursuant
            to Rule 8007, the EA Parties will be deemed to have released and forever waived and
            foregone, with prejudice and finality, any present or future claims for damages, legal fees
            and costs, or other remedies against (a) the JFL Parties, (b) the current, prior or future
            parties in the Matters; ( c) the current, prior or future co-counsel of EA or FSS in the
            Matters, or (d) any other party or their counsel for claims arising out of or relating to the
            Matters, as more fully set forth in Section 5 of this Agreement.

             2.3.  In exchange for the consideration provided W1der the terms of this Agreement,
             JFL has agreed to reduce its claim in the Bankruptcy Case, as set forth in paragraph 3 .1,
             below, and SIMS, FRANK, STOLPER and FSS have agreed to waive, forego and
             withdraw each of their claims in the Bankruptcy Case, subject to and except for the tenns
             of the Releases provided in Paragraph 5 below and compliance with the tenns and
             conditions of this Agreement.

            2.4.     In addition, the JFL Parties have agreed that EA will receive 50% of any and all
             legal fees which would otherwise be paid to FSS or FRANK in the future in connection
             with FSS's contingency agreement with AEP in the AEP v. Royal Center Associates,
             LLC et al. matter. This arrangement will be docwnented in a separate written agreement
             between EA, AEP and FSS (the "AEP Fee Sharing Agreement"), the execution of which
             shall be required for this Agreement to take effect. A copy of the AEP Fee Sharing
             Agreement is attached as Exhibit C.
 3.          Settlement Payments to JFL.

             3.1.     Upon entry of the Settlement Order, JFL will have an allowed claim against EA
             in the amount of TEN MILLION DOLLARS ($10,000,000.00), which claim ("JFL
             Allowed Claim") of JFL and liability of EA will survive dismissal of the Bankruptcy
             Case, and will not be subject to any further defenses, offsets, counterclaims, oppositions,
             answers, objections, contests, disputes or other challenges by any EA Party or any other
             party, provided, however, if (a) the Dismissal Order is not entered, (b) a Stay Order is
             entered and a Tennination Notice is timely sent, or (c) the Settlement Order is
             overturned, vacated or remanded on appeal, then the JFL Allowed Claim will be null and
             void and the proof of claim it filed in the Bankruptcy Case and all the claims, rights, and
             damages asserted therein and in the JFL Arbitration will remain pending. Nothing in this
             Paragraph 3.1 is intended to limit the rights of any Parties to enforce the tenns of this
             Agreement. 1



  1   For the avoidance of any doubt, the Parties arrived at the JFL Allowed Claim amount of TEN MILLION
  DOLLARS (SI 0,000,000 .00) after deducting the credit for fees on the Matters as described in Paragraph 2.3 above
 and additionally JFL, thereafter, further agreed to reduce its claim to TEN MILLION DOLLARS ($10,000,000.00)
 as part of this Settlement. In other words, the Allowed Claim ofTEN MILLION DOLLARS ($10,000,000.00) will
 not be further reduced by any credit for fees, costs, expenses, damages or any other compensation ullegedly owed on
 the Matters.




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          3.2. EA will pay JFL the sum of FOUR MILLION EIGHT HUNDRED AND FIFTY
          THOUSAND DOLLARS ($4,850,000.00) pursuant to the following schedule:

                  3.2.1. Within sixty (60) calendar days after the entry of the Dismissal Order, and
                         provided no stay of the Settlement Order or Dismissal Order having been
                         issued pursuant to Rule 8007 and remains in effect, EA will wire JFL the
                         sum of TWO MILLION DOLLARS ($2,000,000.00), in immediately
                         available funds, pursuant to written wire instructions to be provided by
                         JFL.

                  3.2.2. Within one-hundred and twenty (120) calendar days after the entry of the
                         Dismissal Order, and provided no stay of the Settlement Order or
                         Dismissal Order having been issued pursuant to Rule 8007 and remains in
                         effect, EA will wire JFL the sum of TWO MILLION EIGHT HUNDRED
                         AND FIFTY THOUSAND DOLLARS ($2,850,000.00), in immediately
                         available funds, pursuant to written wire instructions to be provided by
                         JFL.

                  3.2.3. The payments to be made in accordance with Paragraphs 3.2.1 and 3.2.2
                         are collectively referred to as the "Settlement Payments."

           3.3.    In consideration of the terms of this Agreement, including, without limitation, the
           Releases set forth herein and the nature and pendency of the disputes between JFL and
           the EA Parties, AVENATTI agrees to personally guarantee, in his individual capacity,
           the FOUR MILLION EIGHT HUNDRED FIFTY THOUSAND DOLLARS
           ($4,850,000.00) of Settlement Payments. The complete tenns of this guaranty shall be
           set forth in a separate agreement ("Guaranty Agreement") between JFL and A VENA TTL
           A copy of the Guaranty Agreement is attached as Exhibit D.

           3.4.    As will be set forth in the Guaranty Agreement, it is the intention of JFL and
           AVENATTI that AVENATTI's payment obligations under the Guaranty Agreement
           shall be non-dischargeable, under 11 U.S.C. Section 523(b) in the event AVENATTI
           becomes a debtor in a bankruptcy case while the Settlement Payments remain outstanding
           and thereafter to the extent any party in (1) AVENATTI's bankruptcy case or (2) a
           subsequent bankruptcy case or similar proceeding in which EA is the debtor or has a
           similar role seeks to recover all or any portion of the Settlement Payments.

           3.5.   If the Settlement Payments are paid by EA to JFL within the timeframes and in
           the manner required by this Agreement, then effective 367 calendar days after the final
           Settlement Payment is received by JFL, JFL will waive and forego its right to collect any
           part of the remaining FIVE MILLION ONE HUNDRED AND FIFTY THOUSAND
           DOLLARS ($5,150,000.00) of its allowed claim.

           3.6.    Remedy Upon Payment Default. If the Settlement Payments are not made within
           three (3) business days of the applicable Settlement Payment date due, then all of the EA
           Parties agree that they will no1 oppose the entry by the Bankruptcy Court of a final, non-



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           appealable judgment against EA in favor of JFL in the amount of TEN MILLION
           DOLLARS minus any amounts previously paid to JFL pursuant to this Agreement (the
           "Final Judgment"), and will not oppose the reopening of the Bankruptcy Case for the
           limited and sole purpose only of entering fhjs Final Judgment. JFL and the EA Parties
           expressly consent to the exclusive jurisdiction of the Bankrnptcy Court to enter fhjs Final
           Judgment against EA. By seeking or obtaining any of the relief described in this
           paragraph, JFL will not in any way waive or otherwise prejudice or impact its right to
           enforce the personal guarantee and Guaranty Agreement set forth in Paragraphs 3.3 and
           3.4 of the Agreement.

 4.       Dismissal of Lawsuits and Arbitrations.

           4.1.     Wifhjn sixteen (16) calendar days of entry of the Dismissal Order, and provided
           no stay of the Settlement Order or Dismissal Order having been issued pursuant to Rule
           8007, the commencing party in each of the following actions shall dismiss the actions and
           all claims therein with prejudice: (a) the JFL Arbitration and EA's counterclaims therein;
           and (b) the SIMS Arbitration and EA's coooterclaims therein. With respect to the other
           litigation, EA will not pursue the ENBirbrower Arbitration, the ENCallaway Lawsuit,
           the ENRoot Lawsuit or any claims against AEP. AEP has dismissed, without prejudice,
           the AEP/EA Arbitration.

 5.        Releases.

           5.1.    Release of EA Parties by JFL Parties. Effective upon the latest of (a) entry of
           Settlement Order, (b) entry of the Dismissal Order, and (c) dismissal of the Bankruptcy
           Case, and provided no stay of the Settlement Order or Dismissal Order having been
           issued pursuant to Rule 8007, and in consideration of the tenns of this Agreement and
           other good and valuable consideration, JFL, FRANK, SIMS, STOLPER and FSS on their
           own behalf and on behalf of each and all of their respective legal predecessors,
           successors, assignees, attorneys, agents, partners, owners, employees, heirs, parents,
           children, spouses, and related organizations hereby irrevocably and unconditionally
           release, and fu11y and forever discharge, absolve, and covenant not to sue the EA Parties,
           and each of them, and every one of their respective partners, officers, directors, owners,
           agents, employees, companies, parents, subsidiaries, divisions, affiliates, attorneys,
           trustees, legatee, personal representative, administrators, insurers, fiduciaries, executors,
           representatives, predecessors, successors, assigns, related parties, heirs, parents, children
           and spouses from and for any and all claims, causes of action, liabilities, damages, legal
           or administrative relief, of any basis or source, whether known or unknown, that were,
           have been or could have been asserted now, in the past, or in the future, including, but not
           limited to, any and all claims raised in the JFL Arbitration, the Sims Arbitration or the
           Bankruptcy Case and/or any and all claims arising out of or relating to the JFL
           Agreement, the Sims Agreement and JFL's, Frank's, Sims' or Stolper's employment at or
           other rendition of services at EA. However, and notwithstanding any other terms in this
           Agreement, this release does not include or in any way release or waive claims held by
           any of the JFL Parties for indemnification, contribution and insurance coverage for any
           claims brought against them related to their employment at, or rendition of services at,



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          EA, including without limitation indemnification for tax liability that they may have now
          or in the future against EA. Further, notwithstanding the foregoing or any other tenns of
          this Agreement, the releases set forth in this paragraph shall not operate to release the EA
          Parties from any of their payment and other covenants, obligations and duties under this
          Agreement or the Guaranty Agreement, nor will they in any way waive, limit or foreclose
          any of the JFL Parties from seeking and obtaining any appropriate remedies for any
          violation of the terms of this Agreement or the Guaranty Agreement.

           5.2.    ReJensc of JFL Pnrtics by the EA Parties. Effective upon the latest of (a) entry
           of the Settlement Order, (b) entry of the Dismissal Order, and (c) dismissal of the
           Bankruptcy Case, and provided no stay of the Settlement Order or Dismissal Order
           having been issued pursuant to Rule 8007, and in consideration of the terms of this
           Agreement and other good and valuable consideration, EA, EAGAN, A&A and
           AVENAITI on their own behalf and on behalf of each and all of their respective legal
           predecessors, successors, assignees, attorneys, agents, partners, employees, heirs, parents,
           children, spouses, creditors, owners, executors, trustees and related parties hereby
           irrevocably and unconditionally release, and fully and forever discharge, absolve, and
           covenant not to sue the JFL Parties, and each of them, and every one of their respective
           partners, officers, directors, owners, agents, employees, companies, subsidiaries,
           divisions, affiliates, attorneys, trustees, legatee or personal representative, administrators,
           insurers, fiduciaries, executors, representatives, predecessors, successors, assigns, related
           organizations, heirs, parents, children and spouses from and for any and all claims, causes
           of action, liabilities, damages, legal or administrative relief, of any basis or source,
           whether known or unknown, that were, have been or could have been asserted now, in the
           past, or in the future. This release includes, but is not limited to any and all claims or
           counterclaims raised in the JFL Arbitration, the SIMS Arbitration or the Bankruptcy Case
           and/or any and all claims arising out of or relating to the JFL Agreement, the SIMS
           Agreement or the Parties employment at EA or other rendition of services at EA, or any
           and all claims for tortious interference, unfair competition, misappropriation, trade secret,
           conversion, fraud, breach of fiduciary duty, breach of duty or other such claims against
            the JFL Parties. Notwithstanding the foregoing, theses releases shall not operate to
            release the JFL Parties from any of their covenants, obligations and duties under this
            Agreement or the Guaranty Agreement, nor will they in any way waive, limit or foreclose
           any of the EA Parties from seeking and obtaining any appropriate remedies or relief for
            any violation of the tenns of this Agreement or the Guaranty Agreement.

           5.3.    Release of Counsel in the Matters by the EA Parties. Effective upon the latest
           of (a) en1ry of Settlement Order, (b} entry of the Dismissal Order, and (c) dismissal of the
           Bankruptcy Case, and provided no stay of the Settlement Order or Dismi.ssal Order
           having been issued pursuant to Rule 8007, and in consideration of the terms of this
           Agreement and other good and valuable consideration, each of EA, EAGAN, A&A and
           AVENATTI on their ov.,11 behalf and on behalf of each and all of their respective legal
           predecessors, successors, assignees, attorneys, agents, partners, employees, heirs, parents,
           children, spouses, creditors and related organizations hereby irrevocably and
           unconditionally release, and fully and forever discharge, absolve, and covenant not to sue
           the current, past or future co-counsel, in-house counsel, local counsel or subsequent



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           counsel for current, past or future clients of FSS in the Matters for any claims for
           attorneys' fees, costs, expenses, damages, or any other compensation or remedies arising
           out of or related to the matters listed on Exhibit "A," whether known or unlmovm, that
           were, have been or could have been asserted now, in the past, or in the furure. The
           persons and entities covered by this release include, but are not limited to: (a) Franklin D.
           Azar & Associates, P.C., Franklin D. Azar, Esq. Keith R. Scranton, Esq. and Jonathan
           Parrott, Esq.; (b) Law Offices of Steven R. Young and Steven R. Young, Esq.; ( c) Girardi
           Keese, LLP and James O'Callahan, Esq.; (d) McNicholas & McNicholas, LLP, Patrick
           McNicholas, Esq., Matthew McNicholas, Esq., Philip Shakhnis Esq., and Michael J.
           Kent, Esq.; (e) Yuhl Carr LLP, Eric Yuhl, Esq. and Colin Yuhl Esq.; (f) Snell & Wilmer
           LLP and Steve T. Graham; (g) Lewis Roca Rothgerber Christie LLP and Dan R. Waite,
           Esq.; (h) Bridgford Gleason & Artinian, Richard K. Bridgford, Esq. and Michael H.
           Artinian, Esq.; (i) Orrick, Herrington & Sutcliffe LLP and Jorg Ritter, Esq.; (j) Osborn
           Machler and Simeon J. Osborn, Esq.; (k) Smyth & Mason PLLC and Jeffrey Smyth Esq.
           and (l) FSS, FRANK, SIMS and STOLPER as well as their respective legal predecessors,
           successors, assignees, attorneys, agents, partners, employees and related organizations.

           5.4.    Release of the Clients in the Matters by the EA Parties. Effective upon the
           latest of (a) entry of Settlement Order, (b) entry of the Dismissal Order, and (c) dismissal
           of the Bankruptcy Case, and provided no stay of the Settlement Order or Dismissal Order
           having been issued pursuant to Rule 8007, each of EA, EAGAN, A&A and A VENATTI
           on their own behalf and on behalf of each and all of their respective legal predecessors,
           successors, assignees, attorneys, agents, partners, employees, heirs, parents, children,
           spouses, creditors and related organizations hereby irrevocably and unconditionally
           release, and fully and forever discharge, absolve, and covenant not to sue the clients and
           class members in the Matters for any claims for attorneys' fees, costs, expenses,
           damages, or any other compensation or remedies arising out of or related to the Matters
           whether known or Wlknown, that were, have been or could have been asserted now, in the
           past, or in the future. The persons and entities covered by this release include, but are not
           limited to: (a) Kimberly Birbrower; (b) William (Scott) and Elizabeth Callaway; (c)
           Authentic Ente1tainment Properties, LLP, Authentic Entertainment Properties
           Development, LLP, RCC Company, LLC, Robert Coffman, Robert O'Neil and Steve
           Graham; (d) Hannes Kuhn; (e) Gary and Louise Weaver; (t) Jeffrey Wall; (g) the Estate
           of Jonathan A. Spound, Corey Spound, Michael Spound, and Amy Spound; (h) Skylar
           Ward; (i) Jamie Deehan; G) Rasheed, Robinson and Jiminez; (k) Shayna Broadstone and
           Kristine Billon; (1) Benjamin Lagunas, Dianna Mendoza and Susan Jung; and (m) Al
           Chaffee, Yuping Chen, Jeanne Demund, Laird Devick, Todd Hager, Ash Hanlon, Peter
           Heathcote, NathW1iel Heathcote, Mike Scheffler, Matthew Wahlman and Michael
           Wilson, as well as their respective legal predecessors, successors, assignees, attorneys,
           agents, partners, employees, related organizations, heirs, parents, siblings and children.

 6.        Waiver of Civil Code§ 1542. Each of the Parties has read and understood the following
           language contained in Section 1542 of the California Civil Code:

                  A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                  WH1CH THE CREDITOR DOES NOT KNOW OR SUSPECT



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                  TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                  EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                  OF HER MUST HAVE MATERIALLY AFFECTED HIS OR
                  HER SETTLEMENT WITH THE DEBTOR.

          To the extent that Section 1542 is applicable, each of the Parties hereto expressly waives
          all rights, if any, that they may have m1der this statute.

  7.      No Admission of Liabilitv.          This Agreement is made in settlement of claims and
           allegations which are denied, disputed, and contested. Neither this Agreement nor
           anything contained in this Agreement shall be construed as an admission of any fact,
           issue, liability, or responsibility by any Party hereto to any other Party hereto, all of
           which are expressly denied.

  8.       Assignment. Each of the Parties represents and warrants that he, she, or it has not
           assigned or transferred to any person not a Party to this Agreement any part or portion of
           any matter released -m1der this Agreement, and each Party agrees to-defend, indemnify,
           and hold harmless the other Parties against any claim (including the payment of
           attorneys' fees and costs actually incurred whether or not litigation or other proceedings
           are commenced) based on or in connection with, or arising out of any such assignment or
           transfer made, purported, or cJaimed. Each of the Parties represents and warrants that he,
           she, or it will not assign or transfer to any person not a Party to this Agreement any part
           or portion of any obligations or liabilities created under this Agreement, except that JFL
           may assign its rights to receive the Sett)ement Payments to any party, in its sole
           discretion, and no Party may assign any of its other rights or obligations. Each Party
           agrees to defend, indemnify, and hold harmless the other Parties against any claim
           (including the payment of attorneys' fees and costs actually incurred whether or not
           litigation or other proceedings are commenced) based on or in connection with, or arising
           out of any such assignment or transfer made, purported, or claimed in violation of this
           paragraph.

  9.       Indemnification of Claims Brought by Green Street Advisors, LLC. The EA Parties,
           and each of them, hereby agree they will fully indemnify the JFL Parties and the Estate of
           Jonathan A. Spound and its Administrators, Corey and Michael Spound, for any and all
           claims brought by Green Street Advisors, LLC ("Green Street'') against them individually
           or collectively for amounts owed under the Service Engagement Agreement entered into
           between EA and Green Street in the matter Spound v. SSV Properties et al., dated March
           31, 2016, and modified by an Addendwn with the same date (the "Green Street
           Engagement"), including but not limited to providing a defense and paying for all
           reasonable attorneys' fees, costs and expenses incurred defending against such claims.

   10.     Mutual Non-Defamation. Each of the Parties agree that they will not make any
           defamatory statements about each other to any third party, whether orally or in writing.




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 11.        Changes to FSS Website. At the request of EA, FSS has made changes to its website
            with respect to matters that were previously resolved at EA, and those changes will
            remain in effect as long as such matters are included on the website.

 12.        EA Cooperation on Fee Applications. EA will cooperate with FSS to promptly
            compile and provide FSS with all time sheets, emails and other records documenting the
            time spent at EA on the disputed Matters so that FSS may submit such time in support of
            any necessary fee applications or other motion practice.

 13.        EA Agreement to Automatically Forward Emails. EA shall arrange to have all emails
            sent to the EA email addresses for FRANK, SIMS, STOLPER or Maritza Nowowiejski
            automatically forwarded to FRANK, SIMS, STOLPER and Maritza Nowowiejski at FSS
            for a period expiring no earlier than December 31, 2018, and thereafter disable the email
            addresses.

  14.       EA Agreement to Delete FRANK's Personal Folder. EA agrees that FRANK will be
            provided with access to his personal folder on EA's computer system, and upon request,
            will permanently delete any such items from EA's system.

  15.       Destruction of Documents and Use in Future Legnl Proceedings. Within sixteen (16)
            calendar days of entry of the Dismissal Order, and provided no stay of the Settlement
            Order or Dismissal Order having been issued pursuant to Rule 8007, the Parties and each
            of their respective attorneys, consultants, experts, agents, and representatives and any
            other person or entity under the direction or control of any of them, and any other person
            or entity that they caused information to be disseminated to will destroy the original and
            all copies of the following materials and documents, whether in hard copy or electronic
            fonn:

                    •   All discovery, documents, materials, and electronic files received from any
                        Party that were marked confidential.

            The Parties shall also jointly request JAMS and its arbitrators to destroy its entire file
            relating to the JFL arbitration, with the exception of billing information, within 10 days
            or other reasonable time period proposed by JAMS and agreed to by the Parties, and
            carry out all reasonable steps to ensure compliance.

            Further, to the extent consistent with their professional, ethical and legal obligations, the
            Parties further agree they will not use the following documents in any subsequent legal
            proceeding, litigation or arbitration, unless the litigation is between the Parties:

                    •   All discovery responses provided by any Party during the JFL Arbitration;
                    •   All orders entered by any arbitrator during the JFL Arbitration relating to
                        discovery or sanctions;
                    •   All pleadings relating to any motion for sanctions and/or terminating sanctions
                        submitted in connection with the JFL arbitration, including but not limited to
                        all exhibits filed in connection with any such pleading.



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  16.     Payment, Dismissal and Release Obligations Are Not Excused by Alleged Breaches
          of this Agreement. The payment, dismissal and release obligations set forth in this
          Agreement and the Guaranty Agreement will not be delayed or excused by any alleged
          breach or violation of Section 7 through 27 of this Agreement. However, any such
          breaches may be remedied pursuant to the dispute resolution procedures set forth in
          Paragraph 21 of this Agreement

  17.      Representations and Warranties. The Parties hereto represent and warrant that each
           has read and understood and has received independent legal advice with respect to the
           advisability of making this Agreement, and/or has had the opportunity to obtain such
           legal advice and has knowingly entered into this Agreement without taking advantage of
           the opportunity to obtain such advice. Each Party has made such investigation of the
           facts pertaining to this Agreement and of all other matters pertaining hereto as they deem
           necessary. The Parties hereto represent and warrant that each signatory hereto has the
           full right and authority to enter into this Agreement and bind the Party on whose behalf
           he, she, or it has executed this Agreement.

  18.      Further Assurances. Each Party hereto agrees to cooperate fully and to execute any and
           all supplementary docwnents and to take all additional actions that may be necessary or
           appropriate to give full force and effect to the basic tenns and intent of this Agreement
           and which are not inconsistent with its tenns and intent.

  19.      Headings. The various headings in this Agreement are inserted for convenience only,
           and shall not be deemed a part of or in any manner affect this Agreement or any
           provision hereof.

  20.      Governing Lnw. This Agreement shall be governed and construed in accordance with
           the substantive laws of the State of California and the United States Bankruptcy Code.
           Respective counsel for each Party hereto has participated in the drafting of, read, and
           approved the language of this Agreement. The language of this Agreement shall be
           construed as a whole according to its fair meaning, and not strictly for or against any of
           the Parties hereto.

  21.      Dispute Resolution Procedure.       Any disputes regarding this Agreement, with the
           exception of the procedures set forth in Paragraph 3.6 above pertaining to failures to
           make the Settlement Payments in accordance with the terms of this Agreement, shall be
           first submitted to the Honorable Louis Meisinger to resolve in mediation, and the cost of
           the mediation shall be equally borne by the JFL Parties, on the one hand, and the EA
           Parties, on the other hand. If the Parties are unable to resolve the dispute, then 10 days
           after the mediation, they will submit the claim to binding arbitration before Benchmark
           Resolution Group, Inc. (the organization recently fonned by Judge Meisinger) in Los
           Angeles, California to be resolved employing their rules and procedures for arbitration.

  22.      Waiver/Severnbility. The Parties agree that no waiver by any Party of any particular
           provision or right under this Agreement shall be deemed to be a waiver of any other



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          provision or right herein. The Parties further agree that each provision or term of this
          Agreement is intended to be severable from the others so that if any particular provision
          or term hereof is or determined to be illegal or invalid for any reason whatsoever, such
          illegality or invalidity shall not affect the legality or validity of the remaining provisions
          and terms hereof.

 23.      Attorneys' Fees. The Parties agree that should any relief be brought by any Party to
          enforce any provision or right under this Agreement, the prevailing party shall be entitled
          to recover, in addition to any other relief, reasonable attorneys' fees and costs inctmed
          therein.

 24.      Entire Agreement. This Agreement constitutes the sole and entire agreement and
          understanding between the Parties concerning the subject matter hereof and supersedes
          all prior agreements and understandings between the Parties on those subjects hereto with
          the exception of (a) the AEP Fee Sharing Agreement and the Guaranty Agreement and
          (b) the Separation Agreement entered into between EA and STOLPER dated May 23,
          2016 (the "STOLPER Separation Agreement"). If there is an inconsistency between this
          Agreement and the STOLPER Separation Agreement, this Agreement will control. Each
          of the Parties hereto acknowledge to each of the other Parties that no other Party or any
          agent or attorney of any Party has made any promise, representation or warranty
          whatsoever, express or implie~ written or oral, not contained herein concerning the
          subject matter hereof to induce him, her, or it to execute this Agreement, and each of the
          Parties hereto acknowledges that he, she, or it has not executed this Agreement in
          reliance on any promise, representation or warranty not expressly contained herein. No
          person has any authority to make any representation or promise on behalf of any Party
          that is not set forth herein. This Agreement may be modified only with a written
          instrument duly executed by each of the Parties hereto.

  25.     Binding Agreement. This Agreement shall bind and shall inure to the benefit of
          successors and assigns of each Party. With respect to the individual Parties, this
          Agreement shall also bind and inure to the benefit of his or her heirs, assigns, executors,
          legatees, administrators and personal representatives. With respect to the entity Parties,
          this Agreement shall also bind and inure to the benefit of any parent, affiliate,
          predecessor-in-interest, successor-in-interest, transferee, endorsee, or assign.

  26.      Notice Provision. Any and all notices required by this Agreement shall be mailed and
           emailed in writing to the following:

           26.1.   To the JFL Parties. To Jason Frank, Scott Sims, & Andrew Stolper, Frank Sims
                   & Stolper LLP, 19800 McArthur Blvd., Suite 855, Irvine, California 92612,
                   j frank@lawfss.com; ssims@lawfss.com; astolper@lawfss.com

           26.2.   To the EA Parties. To Michael Avenatti & Michael Eagan, Eagan Avenatti,
                   LLP, 520 Newport Center Drive, Ste. 1400, Newport Beach, CA 92660,
                   mavenattiro eauanavenatti.com.




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                                                                                         rparts, and a
     27.   Execution/Counterparts. This Agreement may be executed in count.e
                                                                               an  origina  l signature
           facsimile or PDF signature shall have the same force and effect as
                                                                                     at least one such
           penned in ink. When ea.ch ofthe Parties hereto has signed and delivered
                                                                                       be deemed an
           counterpart to all other Parties or their counsel, each counterpart shall
                                                                                       constitute one
           original, and when taken together with other signed counterparts, shall
                                                            upon and effective as to all Parties.
           fully executed agreement which shall be binding
                                                                       to be executed as of
     IN WITNESS WHEREOF, the Parties hereto have caused this Agreement
     the day and year indicated below.


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                                                 Its Managing Partner


      Dece mber ~ 2017                   ~~A SSO CIA TES , APC


                                                    'chael J. Avenatti
                                                 Its President

      Decem ber~ 2017



                                                   ·chael J. Avenatti
                                                 In his individual capacity

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                                    Andrew D. Stolper
                                    1n his individual

   APPROVED AS TO FOR.tvt:

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                                                                            Sa w.•.fi'tJ
                                    Counsel to Eagan Avenatti LLP




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